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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:14−cr−00287
                                                       Honorable Charles R. Norgle Sr.
James J Carroll, et al.
                                        Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 9, 2021:


       MINUTE entry before the Honorable Charles R. Norgle as to James J Carroll: Due
to medical issues involving defendant's attorney, the sentencing hearing set for November
12, 2021 is stricken. Mailed notice (ewf, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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